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     RITA GOLDMANN
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8                                     UNITED STATES DISTRICT COURT

9                                   CENTRAL DISTRICT OF CALIFONRIA

10

11   RITA GOLDMANN, an individual,                        Case No.: 2:20-cv-06097

12                             Plaintiff,                 COMPLAINT FOR DAMAGES AND
                                                          DEMAND FOR JURY TRIAL
13            vs.
14
     PRINCESS CRUISE LINES, LTD., a
15   California Corporation, dba in California as
     “Princess Cruises”; and DOES 1 through 100,
16   inclusive;

17                             Defendants.
18

19
20          Plaintiff RITA GOLDMANN hereby demands a jury trial and complains and alleges
21   against Defendants PRINCESS CRUISE LINES, LTD., dba “Princess Cruises” and DOES 1
22   through 100, inclusive, as follows:
23   ///

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27   ///

28   ///
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1                                                 PARTIES
2           1.      At all times relevant herein, Plaintiff RITA GOLDMANN (hereinafter
3    “GOLDMANN” or “PLAINTIFF”) was an individual residing in the County of Riverside, State of
4    California.
5           2.      At all times relevant herein, Defendant PRINCESS CRUISE LINES, LTD. is and
6    was lawfully organized as a California Corporation with its headquarters in the City of Santa
7    Clarita, County of Los Angeles, State of California. PRINCESS CRUISE LINES, LTD.
8    (hereinafter “PRINCESS CRUISES”) does business in California as Princess Cruises and is
9    headquartered at 24305 Town Center Drive, Santa Clarita, CA 91355. Plaintiff is informed and
10   believes and, based upon such information and belief, alleges that at all times relevant to this action
11   Defendant PRINCESS CRUISES is a cruise ship company that sponsors vacation cruises on the
12   high seas, thus subjecting itself to Admiralty Jurisdiction and Law.
13          3.      The true names and capacities of defendants designated herein as DOES 1 through

14   100, inclusive, whether an individual, a business, a public entity, or otherwise, are presently

15   unknown to PLAINTIFF, who therefore sues said defendants by such fictitious names. Plaintiff is

16   informed and believes and, on such information and belief alleges that each fictitiously designated

17   defendant is responsible in some manner for the events alleged herein, and PLAINTIFF will amend

18   the complaint to state the true names and capacities of said defendants when the same have been

19   ascertained.

20          4.      Defendant Does 1 through 100, inclusive, are sued herein under fictitious names.

21   Their true names and capacities are unknown to PLAINTIFF. When their true names and capacities

22   are ascertained, PLAINTIFF will amend this complaint by inserting their true names and capacities

23   herein. PLAINTIFF is informed and believes and thereon alleges that each of the fictitiously

24   named defendants is responsible in some manner for the occurrences herein alleged, and that

25   PLAINTIFF’s damages as herein alleged were proximately caused by those defendants. Each

26   reference in this complaint to “defendant,” “defendants,” or a specifically named defendant refers

27   also to all defendants sued under fictitious names.

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1           5.      PLAINTIFF is informed and believes thereon alleges that at all times herein
2    mentioned each of the defendants, including all defendants sued under fictitious names, was the
3    agent and/or employee of each of the other defendants, and in doing the things hereinafter alleged,
4    was acting within the course and scope of such agency and employment.
5                                              JURISDICTION
6           6.      Federal district courts have original jurisdiction over “[a]ny civil case of admiralty
7    or maritime jurisdiction, saving to suitors in all cases other remedies to which they are otherwise
8    entitled.” 28 U.S.C. § 1333(b)(3).
9           7.      Venue is proper in this Court because Defendants have consented to jurisdiction
10   pursuant to its Passage Contract with PLAINITFF, which provides that in the event there is a
11   dispute, the matter shall be litigated before the United States District Court for the Central District
12   of California in Los Angeles.
13                                        GENERAL ALLEGATIONS

14          8.      On or around December 19, 2019, PLAINTIFF and her husband Walter Goldmann

15   boarded Defendant’s “The Star Princess” (hereinafter, the “VESSEL”).

16          9.      PLAINTIFF is informed and believes, and thereon alleges, that the VESSEL was

17   and is owned and operated by Defendant PRINCESS CRUISES.

18          10.     PLAINTIFF and her husband embarked on a cruise on the VESSEL, which departed

19   from Los Angeles, California on December 19, 2019, to various islands in Hawaii before returning

20   to Los Angeles, California on January 3, 2020.

21          11.     On or about December 26, 2019, while the VESSEL was docked at Lahaina, Maui,

22   Hawaii, PLAINTIFF fell while exiting an elevator on the VESSEL. The incident caused

23   PLAINTIFF to suffer serious and permanent injuries.

24          12.     PLAINTIFF is informed and believes and, based upon such information and belief,

25   alleges that at all times relevant to this action Defendant PRINCESS CRUISES and DOES 1

26   through 100, inclusive, are persons, firms and/or entities who performed maintenance, repair,

27   inspection, troubleshooting, and other services on and to the dangerous and defective elevator,

28   including its component parts, prior to and/or on the date of the incident out of which this action

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1    arises and whose respective services were performed in a negligent or otherwise actionably
2    improper manner such that they directly and/or proximately caused or contributed to the incident
3    out of which this action arises and the serious and permanent personal injuries sustained by
4    PLAINTIFF as a direct and proximate result thereof.
5                                    COMMON CARRIER LIABILITY
6            13.     Cruise ships, such as the VESSEL, are deemed common carriers pursuant to the
7    Shipping Act of 1984. 46 U.S.C. §1702(6). Common carriers must carry passengers safely.
8    Common carriers must use the highest care and vigilance of a very cautious person. They must do
9    all that human care, vigilance, and foresight reasonably can do under the circumstances to avoid
10   harm to passengers, such as PLAINTIFF, and property.
11           14.     At all times relevant herein, Defendant PRINCESS CRUISES and DOES 1 through
12   100, inclusive, were the owners, operators, lessors, lessees, managers, and controllers of the
13   VESSEL named “The Star Princess” and were engaged in the business of a common carrier of

14   passengers for hire.

15           15.     At all times relevant herein, PLAINTIFF was a lawful passenger for hire on the

16   VESSEL with the consent, invitation, permission, and knowledge of Defendant PRINCESS

17   CRUISES and DOES 1 through 100, inclusive and was acting with due caution, attention, and care.

18           16.     At all times relevant herein, Defendant PRINCESS CRUISES and DOES 1 through

19   100, inclusive, as carriers of persons for reward, were under a duty to use the utmost care and

20   diligence for their safe carriage.

21           17.     Defendants, and each of them, breached their duty of care when they failed to

22   ensure that the VESSEL was safe and sound, properly managed, and operated such that lawful

23   passengers aboard the VESSEL, including PLAINTIFF, were not injured by the dangerous and

24   defective condition of the VESSEL.

25           18.     Notwithstanding the aforementioned duties, Defendants, and each of them, and their

26   agents, servants, employees, and alter egos are subject to liability to PLAINTIFF for committing

27   one or more of the following acts or omissions:

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1                   a. Carelessly and negligently failing to exercise the utmost care in managing,
2                       supervising, maintaining, and operating the VESSEL in a safe and sound
3                       manner and failing to provide all things necessary for that purpose as is required.
4           19.     As a direct and proximate result of one or more of the foregoing acts or omissions
5    by Defendants, and each of them, PLAINTIFF suffered severe and permanent personal injuries, has
6    incurred substantial medical expenses and will continue to incur medical and caretaking expenses
7    into the future, and has lost the enjoyment of a normal life and the benefits thereof.
8
9                                          PRAYER FOR RELIEF
10      WHEREFORE, Plaintiff RITA GOLDMANN prays for judgment against DEFENDANTS, and
11   each of them, as follows:
12          1.      For compensatory and general damages for past, present and future psychological,
13   emotional and physical pain, suffering, distress and injury;
14          2.      For medical and incidental expenses in an amount to be proven;
15          3.      For all related special or economic damages, according to proof;
16          4.      For cost of suit incurred herein; and,
17          5.      For such other and further relief as the Court deems just and proper.
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19   Dated: July 7, 2020                           MCNICHOLAS & MCNICHOLAS, LLP
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22                                                           John P. McNicholas
                                                             Attorney for Plaintiff
23                                                           RITA GOLDMANN
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1                                 DEMAND FOR JURY TRIAL
2          Plaintiff RITA GOLDMANN hereby demands a trial by jury.
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4    Dated: July 7, 2020                    MCNICHOLAS & MCNICHOLAS, LLP
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6
                                            By:
7                                                   John P. McNicholas
                                                    Attorney for Plaintiff
8                                                   RITA GOLDMANN
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